Case 1:20-cv-07311-LAK Document 260 Filed 01/13/24 Page1of3

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HABBA MADAIO Admitted to practice in NJ, NY & CT

& Associates LLP

January 12, 2024
Via E-Mail and First Class Mail
The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

Re: — E. Jean Carroll v. Donald J. Trump
20 Civ. 07311 (LAK) (JLC)

Dear Judge Kaplan:

We write on behalf of President Donald J. Trump to respectfully request a one-week adjournment
of the trial scheduled to commence on January 16, 2024. We are saddened to report that Mrs.
Melania Trump’s mother passed away this week on January 9, 2024. As the family has just made
my team aware there will be a funeral held on Thursday, January 18, 2024 in Florida. Accordingly,
President Trump, who plans to attend his trial, will not be able to be present on Wednesday and
Thursday as he will be traveling to be with his family and be attending the funeral. Given that this
is one of lite’s sad unexpected realities, President Trump would greatly appreciate this minor
accommodation during this difficult time.

As Counsel, given the fact that Monday is a Court holiday and trial is not held on Fridays, we
believe starting a trial on a Tuesday only to stop for Wednesday-Sunday and return will be
disruptive for the Court, the jury, witnesses, and attorneys for both parties. I also cannot imagine
how this would be prejudice Plaintiff. Accordingly, we believe a clean start the following week or
whenever the Court can accommodate would allow both sides to conclude the trial within one
week without disruption.

Despite this unforeseen event, Carroll’s counsel has refused to consent to this accommodation.
Attached is a copy of the January 12, 2024 e-mail correspondence with counsel.

Accordingly, we respectfully request the Court postpone the trial until January 22, 2024 or a later
date convenient for the Court.

submitted,

Alina Hab Ka’ Esq.

1430 U.S. Highway 206, Suite 240, Bedminster, NJ 07921 = Tel. 908.869.1188
Case 1:20-cv-07311-LAK Document 260 Filed 01/13/24 Page 2 of 3

From: Roberta Kaplan

To: Alina Habba, Fsa.; Shawn G, Crowley; Joshua Matz; Trevor Morrison
Cc: Michael Madaio; Peter Gabra; Peter Swift

Subject: RE: Consent for Short Adjournment

Date: Friday, January 12, 2024 11:38:41 AM

Attachments: image001.png

Dear Alina:

While we are very sorry for the Trumps’ loss, we cannot agree to a complete adjournment of trial at
this time. Ms. Carroll and our other witnesses are prepared to proceed as scheduled on Tuesday
and any delay would be severely prejudicial, particularly as your client is near certain to assert
scheduling conflicts again, and continues to defame Ms. Carroll on a near-daily basis in connection
with his campaign for president.

That said, should Mr. Trump choose to testify, and if you have finished all of your other witnesses on
Thursday, then we would not oppose a continuance until the following Monday so that Mr. Trump
could attend the funeral and testify first thing on Monday. In other words, under that scenario, the
parties and Court would have part of Thursday and Friday off, as opposed to just Friday. In this
regard, we note that Mr. Trump did not attend the prior trial which decided liability and that this
trial will be limited to the question of Ms. Carroll’s additional damages.

Very truly yours,

Robbie

Roberta Kaplan | Kaplan Hecker & Fink LLP

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New York, New York 10118
(W) 212.763.0883
rkaplan@kaplanhecker.com

From: Alina Habba, Esq. <ahabba@habbalaw.com>

Sent: Friday, January 12, 2024 10:45 AM

To: Roberta Kaplan <rkaplan@kaplanhecker.com>; Shawn G. Crowley
<scrowley@kaplanhecker.com>; Joshua Matz <jmatz@kaplanhecker.com>; Trevor Morrison
<tmorrison@kaplanhecker.com>

Cc: Michael Madaio <mmadaio@habbalaw.com>; Peter Gabra <pgabra@habbalaw.com>; Peter
Swift <pswift@habbalaw.com>

Subject: Consent for Short Adjournment

This email was sent from outside the Firm.

Counsel,

As | am sure you are aware, Mrs. Melania Trump’s mother passed away this week on January 9,
2024. | have just been informed her funeral will be held on Thursday, January 18, 2024, in Florida.
Case 1:20-cv-07311-LAK Document 260 Filed 01/13/24 Page 3 of 3

Accordingly, President Trump, who plans to attend his trial, will not be able to be present on
Wednesday and Thursday as he will be traveling to be with his family and be attending the funeral.

Given the fact that Monday is a Court holiday and trial is not held on Fridays, we believe starting a
trial on a Tuesday only to stop for Wednesday-Sunday and return will be disruptive for the Court, the
jury, witnesses, and attorneys for both parties. | also cannot imagine how this would prejudice
Plaintiff. Accordingly, we believe a clean start the following week or whenever the Court can
accommodate would allow both sides to conclude the trial within one week without disruption.

Please advise if you consent to this accommodation by 2pm today.
We appreciate your consideration.

Thank you,

ALINA Hassa, Esa.

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